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                                           AUSA:              Filed 07/05/22 Telephone:
                                                    Blake Hatlem              Page 1 of(313)
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AO 91 (Rev. ) Criminal Complaint            Special Agent:         Miguel A. Colon               Telephone: (313) 965-2323

                                        UNITED STATES DISTRICT COURT
                                                              for the
                                                Eastern District of Michigan

United States of America
   v.
MALIQUE SANDERS                                                                   Case: 2:22−mj−30292
                                                                         Case No. Assigned To : Unassigned
                                                                                  Assign. Date : 7/5/2022
                                                                                  USA V. SEALED MATTER (CMP)(CMC)




                                                  CRIMINAL COMPLAINT

          I, the complainant in this case, state that the following is true to the best of my knowledge and belief.

          On or about the date(s) of            May 2020 to July 2021             in the county of               Wayne     in the
        Eastern          District of       Michigan       , the defendant(s) violated:
                  Code Section                                           Offense Description
18 USC § 1341                                         Mail Fraud
18 USC § 1343                                         Wire Fraud
18 USC § 1028A                                        Aggrivated Identity Theft




          This criminal complaint is based on these facts:
See Attached Affidavit




✔ Continued on the attached sheet.

                                                                                          Complainant’s
                                                                                          C   l i   t’ signature
                                                                                                        i   t

                                                                                     Special Agent Miguel A. Colon
                                                                                           Printed name and title
Sworn to before me and signed in my presence
DQGRUE\UHOLDEOHHOHFWURQLFPHDQV


Date:   July 5, 2022                                                                         Judge’s signature

City and state: Detroit, MI                                                  Kimberly G. Altman, U.S. Magistrate Judge
                                                                                           Printed name and title
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                AFFIDAVIT IN SUPPORT OF A COMPLAINT


      I, Miguel A. Colon, being first duly sworn, hereby depose and state as

follows:

               INTRODUCTION AND AGENT BACKGROUND

      1.     I am a Special Agent of the U.S. Department of Labor, Office of

Inspector General, Office of Investigations - Labor Racketeering and Fraud

(“DOL-OIG/OI-LRF”) and have been since December 2017. I am currently

assigned to the Federal Bureau of Investigation (“FBI”) Violent Gang Task Force

(“VGTF”), where I participate in investigations of street gangs and violent

offenders committing various violations of federal law, including weapons and

narcotics trafficking, violent crimes, and fraud. Prior to my current assignment, I

was assigned to the Homeland Security Investigations’ Document and Benefit

Fraud Task Force, where I investigated criminal activity including, but not limited

to, identity theft, money laundering, visa fraud and other financial fraud. I have

conducted numerous investigations involving identity theft, labor, financial and

unemployment insurance fraud schemes. In addition to my experience, I have also

received significant law enforcement training, including graduating from the

Criminal Investigator Training Program at the Federal Law Enforcement Training

Center.
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      2.     As a Special Agent, I have conducted numerous investigations into

criminal violations of both Title 29 and Title 18 of the United States Code. During

this time, I have been either the lead agent or supporting agent on several

investigations involving criminal schemes targeting the unemployment insurance

(“UI”) program through the filing of false or fictitious UI claims. Based on my

direct personal experience with these cases, I have become familiar with the

methods that criminals use to attack and exploit the UI systems as well as the

criminals’ reliance on the use of email and other internet or online tools and

systems to facilitate that fraud.

      3.     Probable cause exists that Malique SANDERS (DOB: XX-XX-2001)

has engaged in unemployment insurance fraud and has committed mail fraud (18

U.S.C. § 1341), wire fraud (18 U.S.C. § 1343), and aggravated identity theft (18

U.S.C. § 1028A). His scheme involved the filing of a fraudulent UI claim through

the internet, using misappropriated personal identifying information (“PII”) of real

persons, and the withdrawal of fraudulently obtained UI funds utilizing debit cards

that had been sent through the mail at ATMs in the Eastern District of Michigan.

      4.     I make this affidavit based upon personal involvement in the subject

criminal investigation, including review of: financial, employment, internet service

provider, utility and property records; records from relevant state agencies

regarding UI claims; and law enforcement surveillances. I have also been provided


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with information from other law enforcement agents and officials, including agents

and officials from the Bureau of Alcohol, Tobacco, Firearms and Explosives

(ATF) and the State of California State Workforce Agency. This affidavit does not

contain all the facts developed to date in the underlying investigation and is being

submitted for the limited purpose of establishing probable cause to secure a

criminal complaint and arrest warrant.

             UNEMPLOYMENT INSURANCE BACKGROUND

      5.     The Social Security Act of 1935 initiated the federal and state

Unemployment Insurance system. The system provides benefits to individuals who

are unemployed for reasons beyond their control. The purpose of the

Unemployment Insurance system is twofold: first, to lessen the effects of

unemployment through cash payments made directly to laid-off workers, and

second, to ensure that life necessities are met on a weekly basis while the worker

seeks employment. In the State of California, the Unemployment Insurance system

is administered by the California Employment Development Department (“EDD”).

The U.S. Department of Labor funds many Unemployment Insurance Agency

administrative costs, including salaries, office expenses, and computer equipment.

      6.     State unemployment systems and benefits are joint state and federal

enterprises largely financed by taxes on private employers located in that state. In

2020 and 2021, the federal government provided significant supplemental benefits


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to the states as a result of the COVID-19 pandemic. Beginning in or about March

2020 and continuing through September 4, 2021, the Families First Coronavirus

Response Act; Coronavirus Aid, Relief, and Economic Security Act; and the

American Rescue Plan Act of 2021 created federal programs that allowed for the

significant outlay of federal funds flowing to and through the states to offset the

historic need for unemployment benefits by the American workforce, including in

the state of California. Collectively, these benefits are often referred to as

Pandemic Unemployment Assistance (“PUA”).

      7.     Normally (in the absence of fraud), an unemployed worker initiates an

Unemployment Insurance claim. This can be accomplished by submitting a claim

in person, over the telephone, or via the Internet. Currently, most Unemployment

Insurance claims in California are filed online via the Internet through the EDD

website. When a claimant using an internet protocol (“IP”) address registered in

Michigan files a claim with an out-of-state UI agency, the servers used to process

those claims are located outside the state of Michigan. For example, a California

UI claim filed from an IP address registered to a Michigan residence will be

processed through a server located outside of the state of Michigan.

      8.      To be eligible for Unemployment Insurance benefits, the worker

must demonstrate a certain level of earnings in several quarters immediately

preceding the application. The amount of benefits that an Unemployment


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Insurance claimant might be eligible for depends on a variety of factors, including

but not limited to the length of his or her previous employment and the amount of

wages he or she earned.

      9.      The EDD will either approve or reject an Unemployment Insurance

claim based on the application made by the unemployed worker. If the EDD

approves an Unemployment Insurance claim, the claimant may re-certify the claim

via telephone or Internet at various times during the life of the claim. The worker

must also certify that he or she is still unemployed and actively seeking work.

Unemployment benefits in California are provided to a claimant with a debit card,

issued by Bank of America (“BOA”), which is mailed to the claimant through the

U.S. Postal Service.

      10.     All EFTs of Unemployment Insurance benefits to California

Unemployment Insurance claimants involve the transmission of electronic signals

through one of BOA’s two data centers, which are located in Virginia and

Colorado. These are interstate wire communications.

                               PROBABLE CAUSE

      11.     I have probable cause to believe that Malique SANDERS engaged in

an unemployment insurance fraud scheme that has defrauded the state of California

of thousands of federal dollars earmarked for Pandemic Unemployment

Assistance.


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      12.     Agents searched a DOL-OIG database that contains information

related to UI applications and benefits paid for claims in SANDERS’ name.

Agents identified through a search of the database that an address associated with

SANDERS, 154XX Forrer St., Detroit, MI, was listed as the mailing address on 10

separate UI claims in three separate states.

       13.    Agents determined that the registered IP address associated with

154XX Forrer St was IP 68.36.164.242 (“IP 242”), which is controlled by

Comcast. Agents obtained subscriber and billing records for IP 242, which stated

the account holder was Shaiyara Sanders, who agents believe is a relative of

Malique SANDERS. Agents conducted a search of IP 242 in the UI database,

which revealed that on August 26, 2020, and August 31, 2020, this IP address

filed two fraudulent UI claims in the state of California.

       14.    On October 20, 2021, agents conducted surveillance of 154XX

Forrer St. and witnessed SANDERS exiting the residence. 154XX Forrer St. was

also listed on SANDERS’ Michigan driver’s license. In addition, SANDERS’

legitimate Michigan UI claim listed 154XX Forrer St. as his residence. Based on

my experiences in other UI fraud investigations, the ultimate mailing address for

the UI debit card on an account is often an address where the individual who filed

the fraudulent claim resides or visits, because that is the location where the UI

debit card will be sent and received. Due to the association with accountholder


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Shaiyara Sanders, agents believe 154XX Forrer St. was an address used by

SANDERS to engage in UI fraud.

                          UI Fraud Associated with SANDERS

UI Account in J.B.’s Name

      15.    On August 26, 2020, a fraudulent California UI claim was filed in the

name, SSN and D.O.B. of J.B., a real person, from IP 242. Documents provided by

the California EDD, which I have reviewed, revealed that the mailing address

registered on the UI claim was 154XX Forrer St., Detroit, MI.

      16.    On or around August 28, 2020, a BOA UI debit card ending in 2537

in J.B.’s name was mailed, via USPS, to 154XX Forrer St, Detroit, MI 48228. On

August 29, 2020, $16,940 was deposited into the debit account, established by the

California EDD, in J.B.’s name.

      17.    A law enforcement database revealed that J.B. is a resident of

Nevada, not California. Agents also reviewed state wage records associated with

J.B., which revealed no employment history in California, which was falsely

attested to in the California UI claim filed on August 26, 2020. The same wage

records revealed J.B. was employed in Nevada, and not California. In addition,

during the same timeframe, a legitimate UI claim in the name of J.B. was filed in




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the state of Nevada. Records provided by BOA revealed that between May 13,

2020, through July 2, 2021, J.B. collected UI benefits from the state of Nevada.

      18.    On June 16, 2022, BOA provided agents with ATM surveillance

images of 7 separate cash withdrawals made from the UI debit account set up

J.B.’s name between September 4, 2020 and September 11, 2020, in the Eastern

District of Michigan. Based on my review of the ATM surveillance images, I have

concluded that the individual in the ATM surveillance images is SANDERS.

      19.    The picture below is an ATM surveillance image of SANDERS

withdrawing fraudulently obtained UI funds using the UI debit card in J.B.’s name

on September 7, 2020 in the Eastern District of Michigan.




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      20.    Although the individual displayed in the image above is wearing a

mask, the facial features and body composition match those of SANDERS. In

addition, the arm and neck tattoos visible in the ATM surveillance image match

those of SANDERS. The photo below of SANDERS, which shows the matching

neck tattoos visible in the ATM surveillance image, was taken from his public

Instagram account.




      21.    Probable cause exists that SANDERS committed wire fraud, mail

fraud and aggravated identity theft in connection with the fraudulent UI claim filed

in J.B.’s name, and his fraudulent use of a UI debit card in J.B.’s name (that was



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sent through the mail) to withdraw fraudulently obtained UI funds at an ATM in

the Eastern District of Michigan.

                                    CONCLUSION

        22.    Based on the forgoing, there is probable cause to believe that

Malique SANDERS has committed mail fraud (18 U.S.C. § 1341), wire fraud (18

U.S.C. § 1343) and aggravated identity theft (18 U.S.C. § 1028A) in connection

with a scheme to defraud the federal/state unemployment insurance program and

obtain unemployment benefits by means of false and fraudulent pretenses and

representations.



                                               p       y submitted,
                                            Respectfully



                                            Miguell A
                                                    A. C
                                                       Colon
                                                          l
                                            Special Agent
                                            U.S. Department of Labor
                                            Office of Inspector General


Sworn to before me and signed in my presence
and/or by reliable electronic means.




Date:     July 5, 2022
                                               Kimberly G. Altman
                                               United States Magistrate Judge


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